                        UNITED STATES BANKRUPTCY COURT
                         EASTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION
IN RE:

Warren J Williams                                 Bankruptcy No. 16-43021-pjs
              Debtor                              Honorable Phillip J Shefferly
_______________________/                          Chapter 13




               STIPULATION ADJOURN HEARING ON MOTION FOR RELIEF

                Debtor’s Counsel and Counsel for Specialized Loan Servicing LLC hereby
stipulate to the entry of the order attached hereto.


Stipulated and approved for entry:                Stipulated and approved for entry:



/s/ Michael P Hogan                               /s/ Michelle Marrs
Michael P Hogan (P63074)                          Michelle Marrs (P59651)
Schneiderman & Sherman PC                         MARRS & TERRY, PLLC
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                   ORDER ADJOURN HEARING ON MOTION FOR RELIEF


Upon stipulation of the parties, and the Court being otherwise fully advised in the premises;

       IT IS HEREBY ORDERED that the Motion for Relief of Specialized Loan Servicing
LLC is adjourned from October 31, 2017 to November 28, 2017 at 10:00 a.m.
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